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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



SECURITIES AND EXCHANGE
COMMISSION,

                           Plaintiff,

                      v.                         Civil Action File No.
                                                 1:18-cv-4939-TCB
SEAN KELLY; LION’S SHARE &
ASSOCIATES, INC; LIONSSHARE TAX
SERVICES, LLC; AND LION’S SHARE
FINANCIAL OF EAST COBB, INC.,

                             Defendants.


          MOTION CONFIRMING SALE OF REAL PROPERTY

      On November 15, 2018, this Court entered a preliminary injunction [Dkt.

17] (the “Order”) that, among other things, appointed Rhonda Duffy of Duffy

Realty as the liquidation agent to market and sell certain real property owned by

the Defendant in this case. The Court subsequently substituted Tom Posey of

Domain Realty, Inc. as the liquidation agent in this matter. [Dkt. 22.] Mr. Posey

has marketed the property referred to in the Order and has received and accepted
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an offer for the sale of the property located at 2831 Bentwood Dr., Marietta, GA

30062.

      Mr. Posey obtained three appraisals for the property, and the average

appraised value was $365,666. See Declaration of Thomas Posey (“Posey Dec.”)

¶¶ 2-3 [Dkt. 30]. Consistent with 28 U.S.C. § 2001(b), Mr. Posey advertised the

offer for two weeks in the Marietta Daily Journal before accepting it. See Posey

Dec. ¶ 5. The offer Mr. Posey advertised was for $350,000, and no higher offers

were received. Posey Dec. ¶¶ 4-5.

      Because the sale amount is more than two-thirds of the average appraised

value of the property, and because the property was properly advertised, the Court

should confirm the sale. After paying commissions, closing costs, the mortgage

holder, and the percentage ordered to Mrs. Kelly, the sale will net $59,670.30,

which amount will be deposited into the registry of the Court. See Posey Dec. ¶ 4,

Ex. (Settlement Statement).

      For the foregoing reasons, the Commission respectfully requests the Court

to confirm and approve the private sale of the home located at 2831 Bentwood Dr.,

Marietta, GA 3006. A proposed order granting this motion is attached as Exhibit

A.



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This 26th day of August, 2019.

                                 Respectfully submitted,

                                 M. Graham Loomis
                                 Regional Trial Counsel
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                                 loomism@sec.gov

                                 /s/ Joshua A. Mayes
                                 Joshua A. Mayes
                                 Senior Trial Counsel
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                   CERTIFICATION OF COMPLIANCE

      This is to certify that the foregoing was prepared using Times New Roman
14 point font in accordance with Local Rule 5.1 (B).

                               /s/ Joshua A. Mayes
                               Joshua A. Mayes
                               Georgia Bar No. 143107




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                           CERTIFICATE OF SERVICE


I hereby certify that I caused the foregoing to be served on Sean Kelly by UPS
addressed as follows:

Sean Kelly
Inmate No. 71966-019
Montgomery FPC
Maxwell Air Force Base
Montgomery, AL 36112

This 26th day of August, 2019.

                                                              /s/ Joshua A. Mayes
                                                                  Joshua A. Mayes




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